
IN an indictment against the defendant for an assault. in the County Court of Loudon, a judgment was ren dered against him for 50/. from which judgment an ap*126peal was taken to the district court of Dumfries. That court adjourned the case to the general court, and propounded the following questions: “ 1st. Whether upon “ prosecutions by indictment at the suit of the common- “ wealth, a defendant, against whom a pecuniary fine to “ the amount of one hundred dollars or more is assessed, u have the right of appeal or not: 2d, Whether, if an ap- “ peal be allowable as of right in such a case, such appeal 5t operates as a supersedeas to the judgment of the infe- “ rior court, from the time of granting the same.”
The general court, November 13th, 1800, consisting of Judges Prentis, Tucker, Tyler, Nelson, White and Carrington, declared their opinion to be, “ that the right “ of appeal does not extend to criminal cases, or prose-u cutions by indictments in behalf of the commonwealth.”
***See the following case decided at the same court by the same judges.
